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                       iN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION
Donna Langan, etal,
                                                            1




-vs-                                                                   CaseNo.                           vU
Abbot, et al.




                                                  ORDER

       BE IT REMEMBERED on this the                             day of                             20      ,   there

was   presented to the       Court the Motion for Admission                         Pro Hac       Vice   flied by

 Moira Meltzer-Cohen                ("Applicant"), counsel for Langan, deBarbarac, &                           and

the Court, having reviewed the motion, enters the following order:

       IT IS ORDERED that the Motion for Admission Pro Hac                   Vice   is   GRANTED, and Applicant

may appear on behalf of Langan, deBarbarac, &                              in the above case.

       IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

in compliance with Local Court Rule AT-l(f)(2), immediately tender the amount of $100.00,

made payable to: Clerk, U.S. District Court.

       IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

register as a filing user within 10 days of the date of this Order.

       ITIS FINALLY ORDERED that Applicant's Pro Hac Vice status shall not become effective

until Applicant has complied with all provisions of this Order.

        SiGNED this the               day of                                         20




                                                       UNITED STATES DISTRICT JUDGE


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